Case 3:12-cv-04641-N-BQ Document 115 Filed 12/17/14                  Page 1 of 5 PageID 1503


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

RALPH S. JANVEY, in his capacity as                   §
court-appointed receiver for the Stanford             §
receivership estate; the OFFICIAL STANFORD            §
INVESTORS COMMITTEE; SANDRA                           §
DORRELL; SAMUEL TROICE; and                           §
MICHOACAN TRUST; individually and on                  §
behalf of a class of all others similarly situated,   §
                                                      §
                Plaintiffs.                           § CIVIL ACTION NO. 3:12-cv-04641-L
                                                      §
                    vs.                               §
                                                      §
GREENBERG TRAURIG, LLP;                               §
HUNTON & WILLIAMS LLP; and                            §
YOLANDA SUAREZ,                                       §
                                                      §
               Defendants.                            §


   DEFENDANT HUNTON & WILLIAMS LLP’S MOTION FOR LEAVE TO FILE
   SHORT SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION TO DISMISS THE
 PUTATIVE CLASS’S CLAIMS, TO ADDRESS THIS COURT’S RECENT DECISIONS
     IN JANVEY V. WILLIS, TROICE V. WILLIS, AND TURK V. PERSHING LLC


       Defendant Hunton & Williams LLP (“Hunton”), by its counsel, respectfully moves the

Court for the entry of an order granting Hunton leave to file the attached five-page supplemental

brief in support of its motion to dismiss the claims asserted against it by the putative class. The

purpose of the proposed supplemental brief is to address this Court’s December 5, 8, and 15,

2014 decisions on motions to dismiss filed in Janvey v. Willis of Colorado, Inc., No. 3:13-cv-

03980-N-BG, Troice v. Willis of Colorado, Inc., No. 3:09-cv-01274-N-BG, and Turk v. Pershing

LLC, No. 3:09-cv-02199-N-BG. In support of this motion, Hunton states as follows:
Case 3:12-cv-04641-N-BQ Document 115 Filed 12/17/14                   Page 2 of 5 PageID 1504


I.     Procedural Background.

       1.      On November 15, 2012, Receiver Ralph Janvey, the Official Stanford Investors

Committee (“OSIC”), and a putative class of investors in products sold by entities that Robert

Allen Stanford owned or controlled (collectively, “Plaintiffs”) filed a complaint against Hunton.

(Dkt. 1, Compl.) Also named as defendants are Greenberg Traurig LLP and Yolanda Suarez.

       2.      According to the complaint, Plaintiffs seek damages under state common and

statutory law for harms that they purportedly suffered arising from the defendants’ alleged

representation of entities owned or controlled by Stanford.

       3.      Against Hunton, the putative class purports to state claims for (1) aiding, abetting,

or participation in breaches of fiduciary duty; (2) aiding and abetting violations of the Texas

Securities Act (“TSA”); (3) conspiracy to violate the TSA; (4) aiding and abetting or

participation in a fraudulent scheme; (5) civil conspiracy; and (6) respondeat superior.

       4.      On February 22, 2013, this Court entered an order staying the claims filed by the

putative class until thirty days after the U.S. Supreme Court’s decision on the application of the

Securities Litigation Uniform Standards Act in Chadbourne & Parke LLP v. Troice, No. 12-79;

Willis of Colorado, Inc. v. Troice, No. 12-86; and Proskauer Rose, LLP v. Troice, No. 12-88.

(Dkt. 34.) On March 18, 2013, the Court entered an order declining to stay the claims asserted

by the Receiver and OSIC pending the Supreme Court’s SLUSA decision. (Dkt. 45.)

       5.      As a result, on April 15, 2013, Hunton timely filed a motion to dismiss, in their

entirety, the claims asserted by the Receiver and OSIC. (Dkt. 49.) Briefing on that motion was

completed on August 19, 2013. (See Dkt. 63 (Receiver/OSIC Resp.); Dkt. 75 (Hunton Reply).)

       6.      The Supreme Court issued its SLUSA decision on February 26, 2014.

Consequently, the stay of the putative class claims in this case lifted on March 28, 2014.




                                                 2
Case 3:12-cv-04641-N-BQ Document 115 Filed 12/17/14                   Page 3 of 5 PageID 1505


       7.      On April 18, 2014, Hunton timely filed a motion to dismiss, in their entirety, the

claims asserted by the putative class. (Dkt. 90.) That motion is fully briefed. (See Dkt. 99

(Putative Class Resp.); Dkt. 104 (Hunton Reply).)

       8.      On December 17, 2014, the Court issued entered an order granting in part and

denying in part Hunton’s motion to dismiss the Receiver/OSIC claims. (Dkt. 114.)

       9.      As of the filing of this motion, the Court has not entered an order deciding

Hunton’s motion to dismiss the claims asserted by the putative class and its representatives.

II.    The Court’s Decisions In Janvey v. Willis, Troice v. Willis, & Turk v. Pershing LLC.

       10.     On December 5, 2014, the Court entered an order granting in part and denying in

part the motions to dismiss for failure to state a claim filed by the defendants in Janvey v. Willis

of Colorado Inc., No. 3:13-cv-03980-N-BG [Dkt. 64].

       11.     On December 8, 2014, the Court entered an order granting in part and denying in

part the motion to dismiss for failure to state a claim filed by defendant Pershing LLC in Turk v.

Pershing LLC, No. 3:09-cv-02199-N-BG [Dkt. 125].

       12.     On December 15, 2014, the Court entered an order granting in part and denying in

part the motions to dismiss filed by the defendants in Troice v. Willis of Colorado, Inc., No.

3:09-cv-01274-N-BG [Dkt. 208].

       13.     Like the case against Hunton, the Willis and Pershing cases are part of the

Stanford MDL, and the cases include claims from a putative class.

       14.     The Court’s orders in the Willis cases and in Pershing address several legal issues

relevant to the claims that the putative class assert against Hunton or arguments that Hunton

raised in its motion to dismiss those claims, including: (1) scienter on civil conspiracy claims;

(2) claims for aiding and abetting violations of the TSA; and (3) claims for participation in or

aiding and abetting breaches of fiduciary duty or a fraudulent scheme.


                                                 3
Case 3:12-cv-04641-N-BQ Document 115 Filed 12/17/14                    Page 4 of 5 PageID 1506


III.   Hunton Seeks To Supplement Its Dismissal Briefs To Address Willis And Pershing.

       15.     Aspects of the Court’s decisions in the Willis cases and in Pershing bear on the

grounds of Hunton’s motion to dismiss the putative class’s claims in this case, although each

case must be addressed on its own merits (or lack thereof). Given the overlap in some of the

legal theories asserted against Hunton and against the Willis and Pershing defendants, as well as

the common tie among the cases of the Stanford MDL, Hunton believes a supplemental brief

addressing how the Willis and Pershing decisions do—and do not—apply to the claims against

Hunton will assist the Court in deciding Hunton’s motion to dismiss the putative class’s claims.

Accordingly, Hunton seeks to submit a five-page supplemental brief in support of its motion to

dismiss, attached hereto as Exhibit A.

       16.     On December 17, 2014, one of Hunton’s attorneys, April Otterberg, conferred by

email with one of Plaintiffs’ attorneys, Edward Snyder, concerning Hunton’s request for leave to

file a supplemental brief in support of its motion to dismiss the claims asserted by the putative

class. Mr. Snyder indicated that the plaintiffs oppose the relief requested in this motion.

       WHEREFORE, Hunton respectfully requests an order granting it leave to file the

attached supplemental brief in support of its motion to dismiss the putative class’s claims.

Date: December 17, 2014                              Respectfully submitted,

Richard A. Sayles (Tex. # 17697500)                  By: s/ Jeffrey D. Colman
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                                                 4
Case 3:12-cv-04641-N-BQ Document 115 Filed 12/17/14                  Page 5 of 5 PageID 1507


                             CERTIFICATE OF CONFERENCE

       I hereby certify that on December 17, 2014, and on behalf of Hunton, my colleague,
April Otterberg, conferred with counsel for the plaintiffs, Edward Snyder, by email concerning
Hunton’s request for leave to file a supplemental brief in support of its motion to dismiss the
claims asserted by the putative class and its representatives. As reflected in paragraph 16 of this
motion, Mr. Snyder indicated that the plaintiffs oppose the relief requested in this motion.


                                                     s/ Jeffrey D. Colman
                                                     JEFFREY D. COLMAN




                                CERTIFICATE OF SERVICE

       I hereby certify that on December 17, 2014, I electronically filed the foregoing
Defendant Hunton & Williams LLP’s Motion for Leave to File Short Supplemental Brief in
Support of Motion to Dismiss the Putative Class’s Claims, to Address the Court’s Recent
Decisions in Janvey v. Willis, Troice v. Willis, and Turk v. Pershing LLC with the clerk of the
U.S. District Court, Northern District of Texas, using the electronic case filing (ECF) system of
the court. The ECF system sent a “Notice of Electronic Filing” to the attorneys of record who
have consented in writing to accept this notice as service of this document by electronic means.
Copies will be sent to those indicated as non-registered participants by U.S. Mail or facsimile at
the addresses of their counsel of record or last known residence.



                                                     s/ Jeffrey D. Colman
                                                     JEFFREY D. COLMAN
